Case 3:20-cv-00042-DJN Document 7 Filed 01/30/20 Page 1 of 3 PagelD# 30

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Eastern District of Virginia

 

 

 

 

 

Patricia S. Kimmel, as Administrator of the Estate of )
Steven Michael Kimmel
)
Plaintiff(s) .
Vv. ) Civil Action No. 3:20-cv-00042-DJN
USAA Casually Insurance Company, GEICO )
Advantage insurance Company, and Nationwide )
Mutual Fire Insurance Co. )
nie )
Defendant(s) )
SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) USAA Casualty Insurance Company
clo Regestered Agent Corporation Service Company
100 Schokoe Slip Floor 2
Richmond, VA 23219-4100

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P, 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: John Janney Rasmussen

Insurance Recovery Law Group, PLC
PO Box 38518
Richrnond, VA 23231

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

Fernando Galindo,

CLERK OF COURT “x.

Date: January 24, 2020

 

Signature of Clerk or Deputy Clerk
Case 3:20-cv-00042-DJN Document 7 Filed 01/30/20 Page 2 of 3 PagelD# 31

AO 440 (Rev. 06/12) Summons ina Civil Action (Page 2)
See antiate
Civil Action No. 3:20-cv-00042-DJN:

|

 

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R, Civ. P. 4 (0)

This summons for (name of individual and title, ifany} Ls LA @
was received by me on (date) ; wa

  

© I personally served the summons on the individual at (place)

 

on (date) 3or

 

© I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

 

 

 

on (date) , and mailed a copy to the individual’s last known address; or
shu the summons on (name of individual) Ee bd iby 4 J Who is
designated by law to accept service of process on behalf of (name of organization) ‘S Cvattt
[nbUIWe (mutes on tae) (7, PE ZL 101
a
G I returned the summons unexecuted because 3 or

 

© Other (specify:

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

un (22-2026 JL Ap "~~

Server's On

Ded Robber Mitess Sey

Printed name and title

LEM sp. LL LUM OVA

Server's address

Additional information regarding attempted service, etc:
Case 3:20-cv-00042-DJN Document 7 Filed 01/30/20 Page 3 of 3 PagelD# 32

CERTIFICATE
OF
CORPORATION SERVICE COMPANY

THIS CERTIFICATE MADE pursuant to Subsection 2(b) of Section 13.1-634,
Subsection 2(b) of Section 13.1-763, Subsection 2(b) of Section 13.1-1015 and Section 50-73.4 of
the Virginia Code.

CORPORATION SERVICE COMPANY, a corporation authorized to do business in the
Commonwealth of Virginia, does hereby certify that:

1.

It is incorporated under the Laws of the State of Dclaware and was authorized to do
business in Virginia on ime 1, 2001,

(a) It maintains a business office in the Commonwealth of Virginia at 100
Shockoe Slip, 2"4 Floor, Richmond, VA 23219.

(b) Service of process may be made at such business office in the City of
Richmond upon corporations, limited liability companies, partnerships, trusts and
other entities, associations and persons which have designated it as agent for service
of process.

(c) The names of the individuals authorized to receive process served upon
Corporation Service Company as the agent for service of process of any
corporations, limited liability companies, partnerships, trust and other entities,
associations and persons which have designated it as such agent are:

Beverley L. Crump Rene Nordquist
Linda B. Liles Dustin Kline
Donna Creekmore

WHEREFORE, Corporation Service Company has caused its corporate name to be
hereunto subscribed this {4% day of January 2020.

  
  
 

My Commission Expires: 2B 7 lle. - SO a iD

7 i OM
ST Y YY aS
HP fopo Titaayyst BNE SS
3 DEDAWARE

uN‘ i ‘ORNEW CASTLE

CORPORATION SERYICE COMPANY

LOS
td we
iw

\

  

HN
a
‘<
Ns

Geor . Massth IH, Vice President

é

Mijn

The foregoing instrument was acknowledged before me this 13. day of January

Notary Public //

 

2020, by George A. Massih III.
rr Cid (Z trncl-
